Case 1:04-cv-Oll48-.]DT-STA Document 41 Filed 06/30/05 Page 1 of 15 Page|D 38

   

t`l"f‘ ~"~; 552
IN THE UNITED sTATEs DIsTRICT COURT
FoR THE wEsTERN DISTRICT oF TENNESSYEFI£?» 555-5 3: 35
EASTERN DIVISION 5 y
5 551 15.‘:5-‘5§""
55 55 555 555

wl \.»' '~_/i il`\]. 'I.\_li"‘ [)i \:`i:}¢\l
TERRY ABELS, as Next Friend and

Guardian Ad Litem for Jerry Hunt,
Plaintiff,
VS. No. 1-04-1148-T-An

GENIE INDUSTRIES, INC., et al.,

\-_/\-_/\_/\_/\_/\_/\..»/\._/\¢_/

Defendants.

 

ORDER DENYING DEFENDANT’S MOTION TO CHANGE VENUE

 

Plaintiff brought this action alleging negligence and strict liability when Jerry Hunt
was severely injured while using a man-lift thatwas designed, manufactured, and distributed
by Defendant Genie Industries, lnc.; was rented, leased, or otherwise distributed by
Defendant Rental Services Corporation (“RSC”); and was leased to Defendant White
Electrical Construction Co. through its subsidiary Duncan Electronic Co. Before the court
is Defendant Genie Industries’ motion to change venue to the United States District Court
for the Eastern District of Tennessee, Southern Division at Chattanooga, pursuant to 28
U.S.C. § l404(a). Plaintiff responded For the following reasons, Defendant’s motion is

DENIED.

This document entered on ina docket sheet in compliance
with Rule 56 encl,'or_79 (a) FRCP on “ `

Case 1:04-cv-Oll48-.]DT-STA Document 41 Filed 06/30/05 Page 2 of 15 Page|D 39

l. Facts

Jerry Hunt was severely injured on J`uly 7, 2003, while operating a Genie-
manufactured man-lift. The lift was owned by RSC and leased to White. The incident
occurred in Cleveland, Tennessee.1 The lift that caused the injury, described by Defendants
as “a large and unwieldy piece of machinery,” Defendant’s Motion to Change Venue, at 6,
is located in a storage facility in Ooltewah, Tennessee.2

As a result of the accident, Hunt sustained a hypoxic brain injuries and requires
constant medical attention Hunt was treated at the Erlanger Hospital in Chattanooga,
Tennessee, after the accident and now names over twenty-six (26) physicians and health care
providers in Chattanooga as potential witnesses At the time of the accident, Hunt was a
resident of Savannah, Tennessee, and was an employee of lnsulation System, Ino., a
company owned by his uncle and guardian ad litem, Terry Abels, who lives in Savannah,
Tennessee.3

Hunt currently resides in Castalian Springs, Tennessee.4 He receives medical care at

 

l Cleveland, Tennessee is in the Eastern District of Tennessee.
2 Ooltewah, Tennessee is in the Easterm District of Tennessee.
3 Savannah, Tennessee is in the Western District of Tennessee.

4 Castalian Springs, Tennessee is located in the Middle District of Tennessee.
Defendant’s Motion to Transfer Venue states that Hunt currently lives in Castalian Springs,
Tennessee; however Plaintiff's response states that Hunt resides in Savannah, Tennessee.
Defendant’s Motion to Transfer Venue, at 7; Plaintiff’s Response to the Motion to Dismiss
and/or Transfer Venue, at 7. Plaintiff did not provide any evidence to support this statement
Defendant included Plaintiff’s answers to its interrogatories in which Plaintiff lists three places
where he has resided in the last ten years. Plaintiff’s Answers to Defendant’s First Set of

2

Case 1:04-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 3 of 15 Page|D 40

the Campbell Clinic in Memphis, Tennessee, and has listed seven (7) physicians and health
care providers as potential witnesses Plaintiff also lists as potential witnesses various other
healthcare providers from Bradley County l\/lemorial Hospital, Physicians Services in
Cleveland, Tennessee, and Associates in Diagnostic Radiology in Cleveland, Tennessee.

Defendants are all multi-state corporations that are registered to do business within
the state of Tennessee. ln addition, Genie is headquartered in Washington, RSC is
organized in Arizona, and White’s principal place of business is in Georgia. Genie and RSC
do business throughout Tennessee and White does business in several counties in East and
Middle Tennessee. Also, White has a listed registered agent for service of process in
Memphis, Tennessee.

II. Law and Analysis

Defendant argues that transfer is appropriate to the Eastern Distn`ct of Tennessee
because the alleged accident happened in Cleveland, Tennessee; the machinery involved in
the accident is located in Ooltewah, Tennessee; and the bulk of the witnesses identified by
Plaintiff are located in the Eastern District of Tennessee. Plaintiff maintains that venue is

proper in the Western District of Tennessee pursuant to § 1391 and § l404(a).

 

lntelrogatories, at 2. Two of these addresses are in Savannah, Tennessee, and one is in Castalian
Springs, Tennessee. L Plaintiff did not indicate which address is most current, thus, it is
possible that Hunt lives in Castalian Springs, Tennessee, or Savannah, Tennessee.

3

Case 1:04-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 4 of 15 Page|D 41

A. Whether venue is proper under 28 U.S.C. § 1391.

The general venue statute provides that an action based solely on diversity of
citizenship may be brought only in:

(l) a judicial district where any defendant resides, if all defendants reside in

the same State, (2) a judicial district in which a substantial part of the events

or omissions giving rise to the claim occurred, or a substantial part of property

that is the subject ofthe action is situated, or (3) a judicial district in which the

defendants are subject to personal jurisdiction at the time the action is

commenced, if there is no district in which the action may otherwise be

brought.
28 U.S.C. § l39l(a).

ln this case, the Defendants first contend that venue is improper because the cause
of action did not arise in this district. However, under § l39l(a)(2), venue is not necessarily
proper in only one district. "Rather, we ask whether the district the plaintiff chose had a
substantial connection to the claim, whether or not other forums had greater contacts " Setco
Enter. Corb. v. Robbins, 19 F.3d1278, 1281 (8th Cir. 1994). Venue would be proper in each
district in which a substantial part of the events giving rise to the claim occurred. §e_e Sidco
lndus. Inc. v. Wimar Tahoe Corp., 768 F. Supp. 1343, 1346 (D. Or. 1991).

Where the defendant is a corporation, however, specific rules exist for determining

VCI`IU€Z

[A] defendant that is a corporation shall be deemed to reside in any judicial
district in which it is subject to personal jurisdiction at the time the action is
commenced In a State which has more than one judicial district and in which
a defendant that is a corporation is subject to personal jurisdiction at the time
an action is commenced, such corporation shall be deemed to reside in any
district in that State within which its contacts would be sufficient to subject

4

Case 1:04-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 5 of 15 Page|D 42

it to personal jurisdiction if that district were a separate State, and, if there is

no such district, the corporation shall be deemed to reside in the district within

which it has the most significant contacts.

28 U.S.C. § 1391(c). “Thus, determining whether venue exists under this section depends
upon whether personal jurisdiction over the corporation exists at the time the action was
commenced.” Union Planters Bank. N.A. v. EMC MortLCorb., 67 F.Supp.2d 915, 918
(W.D.Tenn. 1999). Here, the issue is whether Defendants are subject to personal
jurisdiction with the Western District of Tennessee if this district were a separate state.

In a diversity action, the reach of a federal couit’s in personam jurisdiction is
governed by the law of the state in which the court is located. Pickens v. Hess, 573 F.2d
380, 385 (6"‘ Cir. 1978). The Tennessee “long-arm” statute, Tenn. Code Ann. § 20-2-214,
permits Tennessee courts to exercise jurisdiction over non-residents to the full extent
allowed by due process J.I. Case Coi_'p. v. Williams, 832 S.W.2d 530, 531 (Tenn. 1992).
“Due process requires that a nonresident defendant be subjected to a judgment in personam
only if he has such minimum contacts with the foreign state that the maintenance of the suit
does not offend traditional notions of fair play and substantial justice.” 51_<1l at 532 (citing
International Shoe Co. v. Washington, 326 U.S. 310 (1945)).

In judging a defendant’s minimum contacts, “a court properly focuses on ‘the
relationship among the defendant, the forum, and the litigation.”’ Keeton v. Hustler
Magazine, Inc., 465 U.S. 770, 775 (1984) (quoting Shaffer v. Heitner, 433 U.S. 186, 204

(1977)). Even a single contact may provide a sufficient basis for jurisdiction if the contact

Case 1:04-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 6 of 15 Page|D 43

creates a substantial connection with the forum state. Burger King Coro. v. Rudzewicz, 471
U.S. 462, 475 n.18 (1985). Because the essence ofthe concept ofminimum contacts is fair
waming, a court must ascertain whether by virtue of the defendant’s connection with the
forum state, the defendant could “reasonably anticipate being haled into court there.”
World-Wide Voll<swagen Corn. v. Woodsen, 444 U.S. 286, 297 (1980).

ln Southern Mach. Co. v. Mohasco Indus.. Inc., 401 F.2d 374 (6“‘ Cir. 1968), the
Sixth Circuit devised a three-part test 5 to determine whether a defendant has the requisite
minimum contacts:

First, the defendant must purposefully avail himself of the privilege of acting

in the forum state or causing a consequence in the forum state. Second, the

cause of action must arise from the defendant’s activities there. Finally, the

acts of the defendant or consequences caused by the defendant must have a

substantial enough connection with the forum state to make the exercise of

jurisdiction over the defendant reasonable
401 F.2d at 381; see also Neogen Corp., 282 F.3d at 889~90.

ln this case, although none of the Defendants are headquartered in Tennessee or have
their principal place of business here, all three are registered to do business within the state.
Genie and RSC do business throughout Tennessee. Specifically, Genie manufactures

products for sale, lease, or other distribution to distributors in the Westem District of

Tenness ee and RSC has several retail outlets throughout Tennessee. Although White admits

 

5 The Tennessee Supreme Court has suggested that the Mohasco test is “too restrictive” and proposed a
new five-part test. Masada Inv. Co@. v. Allen, 697 S.W.2d 332, 334 (Tenn. 1985). However, the Sixth Circuit has
not recognized this new test, and continues to apply Mohasco. Seel e.g., Nea| v. .lanssen, 270 F.3d 328, 332-33 (6th
Cir. 2001); Payne V. l\/Iotorists1 Mut. Inc. Comoanies. 4 F.3d 452, 455 (6‘h Cir. 1993); Third Nat’l Bank v. WEDGE
Group Inc., 882 F.2d 1087, 1090 (6‘h Cir. 1989).

 

 

Case 1:04-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 7 of 15 Page|D 44

only to having done business in several counties in East and Middle Tennessee, it has a
listed registered agent for service of process in l\/lemphis, Tennessee. On these facts, the
court finds that Defendants have met the three-part minimum contacts test and are subject
to personal jurisdiction in the Western District of Tennessee.

B. Whether the action should be transferred pursuant to 28 U.S.C. § 1404(a).

Twenty-eight U.S.C. § 1404(a) provides that "[f]or the convenience of parties and
witnesses, in the interest of justice, a district court may transfer any civil action to any other
district or division where it might have been brought." A district court has "broad discretion
to grant or deny a motion to transfer [a] case." Phelp_s v. McClellan, 30 F.3d 658, 663 (6th

Cir. 1994) (quoting Cote v. Wadel, 796 F.2d 981, 985 (7th Cir. 1986)); see also Van Dusen

 

v. Barracl<, 367 U.S. 612, 644 (1964); Nicol v. Koscinski, 188 F.2d 537 (6th Cir. 1951).
Transfer of venue pursuant to § l404(a) is possible even when the current forum is proper
under § 1391. Union Planters Bank, 67 F.Supp.2d at 920.

Under § 1404(a), a district court must determine "whether or not on balance the
litigation would more conveniently proceed and the interests of justice be better served by
transfer to a different forum." Box v. Ameritrust Texas. N.A., 810 F. Supp. 776, 780 (E.D.
Tex. 1992) (citations omitted). A variety of factors should be considered, including the
convenience of the parties and potential witnesses, where the operative facts occurred, the
location of the documentary evidence, the possibility of prejudice in either the forum or the

transfer state, and other public-interest concerns such as “systemic integrity and faimess.”

Case 1:04-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 8 of 15 Page|D 45

See Moses v. Business Card Exnress. Inc., 929 F.2d 1131, 1136 (6th Cir. 1991); Priess v.
Fisherfoll<, 535 F. Supp. 1271, 1279 (S.D. Ohio 1982). However, § 1404(a) "provides for
transfer to a more convenient forum, not to a forum likely to prove equally convenient or
inconvenient." Van Dusen, 367 U.S. at 645-46. A motion to transfer should be granted only
when the balance weighs strongly in favor of transfer. M'§Q_l, 188 F.2d at 537.

The factor which should be given foremost consideration is the Plaintiffs choice of
forum. See West Arn. lns. Co. v. Potts, 908 F.2d 974 (TABLE), 1990 WL 104034, *2 (6th
Cir. Jul. 25, 1990); D, 810 F. Supp. at 780-81. That choice should not lightly be
disturbed S_e_e Uniprop v. Home Owners Funding Co;p., 753 F. Supp. 1315, 1322
(W.D.N.C. 1990).

ln the present case, the balance of the aforementioned factors weighs strongly against
transferring venue. First, Plaintiff, an individual, chose to bring suit in the Western District
of Tennessee. Abels, Plaintiff’ s guardian ad litem, is a resident of Savannah, Tennessee, and
it is unclear whether Plaintiff is also a Savannah, Tennessee resident. At the time of the
accident, however, Plaintiff was a Savannah resident and an employee of Insulations
Systems, Inc., a company located in the Western District of Tennessee. Defendants, on the
other hand, are not residents of Tennessee but are corporations that operate out of many
different states. All three Defendants are registered to do business in Tennessee, and RSC
and Genie conduct business in the Western District.

Second, when considering the financial situation and physical condition of the parties,

Case 1:04-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 9 of 15 Page|D 46

it would be easier for Defendants to travel to the Western District than it would be for Hunt
and Abels to travel to the Eastern District. Hunt, who was severely injured as a result of the
accident, does not earn any income. Abels owns his own business; thus, traveling to the
Eastern District would make it difficult for him to continue running his company In
addition, Abels does not have a large discretionary income with which to support himself
or Hunt. On the other hand, Defendants are large corporations As such, Defendants have
more financial resources and more man-power to handle this action if it were to remain in
the Western District. lri order for Defendants to effectively participate in this suit, it would
require only a few representatives’ participation and it Would likely cause very little
disruption to the day-to-day business of each company.

Defendants’ strongest arguments for transferring venue lies in the fact that the alleged
incident occurred in Cleveland, Tennessee, and that the bulk of the witnesses listed by
Plaintiff are located in the Eastern District. For example, Plaintiff has identified over
twenty-six (26) physicians and healthcare providers from Erlanger Hospital in Chattanooga,
Tennessee as potential witnesses By comparison, Plaintiff has listed only seven (7) other
potential witnesses associated with the Campbell Clinic in Memphis, Tennessee. Plaintiff
also lists employees of Duncan Electric Company, representatives of RSC, and
representatives of Schultz Design as potential witnesses_all of which are identified as living
in Cleveland, Tennessee, and thus, in the Eastern District. Defendants have also listed

numerous potential witnesses located in the Eastern District, but many of these are described

Case 1:O4-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 10 of 15 Page|D 47

as “unknown employees” or otherwise have no specific information regarding identity.

ln contrast, however, Plaintiff argues that the witness disclosures provided under Fed.
R. Civ. P. 26 include only individuals who may be called as witnesses and are not
necessarily those who will be called as witnessesl Plaintiff notes that the court should
consider the specific witnesses and their likely testimony, rather than the general quantity
of witnesses of the party seeking or opposing the transfer Holidav Rambler Corp. v.
American l\/lotors Coip., 254 F. Supp. 137, 139 (W.D. Mich. 1966); _sg_e__z@ M
Portland Cenient Co. v. Per_ry, 204 F.2d 316, 320 (7“‘ Cir. 1953); .lenkins v. Wilson
Forwarding Co., 104 F. Supp. 422, 424 (S.D.N.Y. 1952) (“The party seeking the transfer
must clearly specify the key witnesses to be called.... The emphasis must be on this rather

than on numbers.”); Lake v. Richardson-Merrell Inc., 538 F. Supp. 262, 271 (N.D. Ohio

 

1982). ln addition, Plaintiff argues that under Fed. R. Civ. P. 45(0) the court may modify
a subpoena to provide adequate protections for witnesses traveling over 100 miles to attend
trial and it may modify the rules regarding deposing witnesses where the deposition is over
100 miles from the witness’ residence or employment Further, pursuant to Fed. R. Civ. P.
32(a)(3)(B), the deposition of witnesses may be used as testimony at trial if the witness is
located more than 100 miles from the location of the trial or hearing. Finally, Plaintiff
argues that 28 U.S.C. § 1821 allows for compensation of witnesses for travel expenses and
attendance Plaintiff contends that not all of the witnesses listed are likely to be subpoenaed

for trial and that, when necessary, counsel can depose these witnesses at their homes and use

Case 1:O4-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 11 of 15 Page|D 48

their depositions as a substitute for live trial testimony.

ln the present case, Plaintiff’ s most important witnesses, those of Hunt and Abels, are
located in the Western District of Tennessee and will not be inconvenienced if this case
remains here. Other likely witnesses, such as Hunt’s co-workers, are employees of
Insulation System and reside iii the Western District. ln addition, Defendants’ witnesses are
representatives and employees of large multi-state corporations, and to have them travel to
the Western District will not be extremely inconvenientl lt is unclear how the
representatives of a multi-state corporation would be more inconvenienced by having to
travel to the Western District than to the Eastern District. Further, under Rule 45(c) and §
1821, Defendants may depose its witnesses and use their transcripts at trial, or they may
reimburse its witnesses for travel time and expenses incurred as a result of testi fyin g at trial.
Finally, as argued by Plaintiff, the most likely witnesses will be expert witnesses These
witnesses could just as easily testify in the Western District as they could in the Eastern
District.

Defendants argue that the location of the alleged incident, occurring in Cleveland,
Tennessee, weighs strongly in favor of transfeiring venue to the Eastern District. However,
as argued by Plaintiff, the court is not likely to take a trip to the accident Site', thus, the most
likely evidence of the accident scene will be photographs and witness accounts, and these
will be just as convenient to produce at trial in either district. Also, Defendants argue that

the fact that the boom lift that allegedly caused Hunt’s injuries is located in Ooltewah,

ll

Case 1:O4-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 12 of 15 Page|D 49

Tennessee, supports the argument that the case would more conveniently be litigated in the
Eastern District. Defendants claim that the boom is “a large and unwieldy piece of industrial
machinery that may be considered immobile.” Defendant’s Motion to Change Venue, at 6.
However, Plaintiff correctly points out that the man-lift was moved form the accident site
to the storage facility in Ooltewah, Tennessee; therefore, it is not immobile. lf Defendants
are capable of moving the man-lift to a storage unit, then they are capable of moving it to
the Western District for trial, if necessary

Here, when balancing the respective parties’ locations and feasibility of travel to both
the Eastern and Western Districts, the balance tips in favor of retaining the case in the
Western District. Hunt and Abels would be greatly inconvenienced if this case were
litigated in the Eastern District. Defendants, which are three large multi-state corporations,
would not be substantially more inconvenienced if this case were to be tried in the Western
District rather than the Eastern District. ln addition, the list of witnesses provided do not
necessarily demonstrate that the Eastern District is more convenient because it is uncertain
as to which witnesses are likely to be called. Further, the location of the accident and the
man-lif --when taking into account Plaintiff s choice of forum, and his financial and physical
condition-do not make the Eastern District a more convenient forum.

Defendants have not established the Eastern District will prove more convenient
Accordingly, Defendant Genie’s motion to transfer venue to the United States District Court

for the Eastern District of Tennessee, Southern Division at Chattanooga, is DENIED.

12

Case 1:O4-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 13 of 15 Page|D 50

lT lS SO ORDERED.

<%»M-QUM

JAM D. TODD
UN D STATES DISTRICT JUDGE

DATE y

13

 

 

.luly 5, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 1:04-CV-01148 was distributed by fax, mail, or direct printing on

 

Robert Steve Beal
LAW OFFICES OF STEVE BEAL
22 l\/lonroe Avenue

Lexington, TN 38351

Reggie E. Keaton

FRANTZ McCONNELL & SEYl\/lOUR7 LLP
P.O. Box 39

Knoxville7 TN 37901

Sandi L. Pack

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
Commerce Center

Suite 1000

211 Commerce St.

Nashville, TN 37201

William E. Godbold

LEITNER, WILLIAMS, DOOLEY & NAPOLITAN, PLLC
801 Broad Street

Third Floor

Chattanooga, TN 37402

Charles O. McPherson

LEITNER WILLIAMS DOOLEY & NAPOLITAN
254 Court Ave.

Second Floor

l\/lemphis7 TN 38103

.l. Randolph Bibb

BAKER DONELSON BEARMAN & CALDWELL
211 Commerce St.

Ste. 1000

Nashville, TN 37201

Marty R. Phillips

RAINEY KIZER REVIERE & BELL
209 E. l\/lain St.

.lackson7 TN 38302--114

Case 1:O4-cv-01148-.]DT-STA Document 41 Filed 06/30/05 Page 15 of 15 Page|D 52

Bradford D. Box

RAINEY KIZER REVIERE & BELL
209 E. Main Street

.lackson7 TN 38302--114

Honorable .l ames Todd
US DISTRICT COURT

